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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOSEPH JOHN URBAN, et al.,

               Plaintiff,
                                                            CIVIL ACTION
               v.                                           No. 15-5148

MCKESSON CORPORATION,

               Defendant.

                                           ORDER

       AND NOW, this ~day of January, 2019, it is ORDERED that Plaintiffs request for

an extension of time to effectuate service of process (see attached letter) is GRANTED ..

Accordingly, Plaintiff must serve the Defendant on or before May 18,2019.




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                  Case 2:15-cv-05148-AB Document 22 Filed 01/22/19 Page 2 of 2

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                                                                                                       MIAMr,FL
                                                                                                    2150 S\"J13th Ave.
                                                    January 18, 2019                                 Miami, FL 33145

         Via Fa:\:: 215-580-2356
         The Honorable Anita B. Brody
         James A. Byrne U.S. Courthouse
         601 Market Street
         Room 7613
         Philadelphia, PA 19106

                  Re: U.S. ex rei. Urban v. :McKesson Corp.,- No.lS-cv-5148

          Dear Judge Brody:

                 Relator Joseph John Urban, through his attorney, David C. Kane, Esq., hereby requests
          this Honorable Court to extend the time within which to effectuate service of process of the
          Summons and Comp1aint on Defendant for a period of 90 days.

                   On November 15, 2018, The United States ±Tied a notice of Election to Decline
          Intervention and requested the Honorable Court to Jift the seal on the complaint and served upon
          the defendant by the relator in the above-mentioned matter. On November 19, Judge Brody
          signed the Order. Rule 4(m) of the Federal Rules of Civil Procedures provides that summons and
          complaint shall be served on a defendant within 90 days. Under such rule, the current deadline to
          serve the defendant is February 17, 2019.

                 Relator Joseph John Urban respectfully request an extension because he needs more time
          to discuss with counsel to determine whether he will maintain the action in the name of The.
          United States or requests that the action be dismissed.

                   Should you have any questions, please do not hesitate to contact me directly.

                                                                                          yyours,

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                                                                                       vidC.~Esq.
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